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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA           )
                                   )
                                   )
v.                                 )    Case No. 24-cr-00304-CJN
                                   )
LEE GIOBBIE,                       )
                                   )
                                   )
                 Defendant         )
                                   )




     DEFENDANT LEE GIOBBIE’S MOTION TO MODIFY CONDITIONS OF
                            RELEASE



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            NOW COMES, Defendant Lee Giobbie, by and through his

undersigned counsel or record, William L. Shipley, requesting this Court

modify the conditions of pretrial release imposed by this Court so as to allow

for travel to the District of Columbia to attend President-Elect Donald Trump’s

Inauguration.

      On January 22, 2024, Defendant Giobbie was charged with violations of

18 U.S.C. Sec. 1512(c)(2), 18 U.S.C. Sec. 231(a)(3), 18 U.S.C. Sec 1752 (a)(1),

18 U.S.C. Sec 1752 (a)(2), 18 U.S.C. Sec 5104 (e)(2)(D), and 18 U.S.C. Sec 5104

(e)(2)(G) by a criminal complaint. Defendant Giobbie was later indicted on the

same violations; however, after the United States Supreme Court ruling in

Fischer v. United States, the Government moved to dismiss the 18 U.S.C. Sec.

1512(c)(2) violation and now only stands charged with a felony violation of 18

U.S.C. Sec. 231(a)(1).

      On May 21, 2024, Magistrate Judge Harvey set Defendant Giobbie’s

terms and conditions of pretrial release which included a restriction of

Defendant Giobbie to refrain from entering the District of Columbia unless it

was related to court or personal business matters. See ECF No.13 Pg. 2 at ln f.

      To date, Defendant Giobbie has been in compliance with all terms and

conditions of release set by this Court.

      Defendant Giobbie requests to be allowed to travel to the District of

Columbia from January 19, 2025, to January 20, 2025, to be in attendance of

President-Elect Donald Trump’s Inauguration.

      Undersigned has conferred with Government Counsel who oppose such

modification.
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Dated: January 7, 2025                 Respectfully Submitted,




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